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                                                                                 2018 May-14 PM 03:44
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


ACADIA INSURANCE COMPANY, )
                           )
        Plaintiff,         )
                           )                  Civil Action Number
vs.                        )                   2:17-cv-01368-AKK
SOUTHERNPOINTE GROUP INC., )
et al.,                    )
                           )
        Defendants.        )


                                      ORDER

      The court having been informed during the status conference on April 23,

2018 that the parties have amicably settled this case, it is ORDERED that this case

be DISMISSED WITHOUT PREJUDICE. This court shall retain jurisdiction

over the parties until June 15, 2018 for purposes of enforcing the parties’

settlement agreement and entering any necessary orders to effectuate that

agreement.

      It is further ORDERED that the parties shall submit a formal stipulation of

dismissal to the court by June 15, 2018. Otherwise, after that date, this action will

be deemed dismissed with prejudice.
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DONE the 14th day of May, 2018.


                            _________________________________
                                     ABDUL K. KALLON
                              UNITED STATES DISTRICT JUDGE




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